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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-62808-CIV-ALTMAN/Hunt

  PATRICIA KENNEDY,

         Plaintiff,
  v.

  EMRE S. SARIHAN,

        Defendant.
  _________________________________/

                                               ORDER

         THIS MATTER came before the Court for a status conference on December 17, 2019.

  Following the status conference, the parties jointly represented to the Court that they have resolved

  all outstanding claims in this matter. Having carefully reviewed the record and being otherwise

  fully advised, the Court hereby ORDERS AND ADJUDGES as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

             to file a stipulation for dismissal on or before December 27, 2019.

         2. If the parties fail to complete the expected settlement, either party may ask the Court

             to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. All pending

             deadlines and hearings are TERMINATED, and any pending motions are DENIED

             AS MOOT.
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        DONE AND ORDERED in Fort Lauderdale, Florida, this 18th day of December 2019.




                                               _________________________________
                                               ROY K. ALTMAN
                                               UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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